                    Case 19-10562            Doc 1       Filed 04/11/19 Entered 04/11/19 16:09:15                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                BCause Mining LLC, a Virginia limited liability company

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  130 S. Jefferson St., #101
                                  Chicago, IL 60661
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  5465B Greenwich Rd. Virginia Beach, VA 23462
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       bcause.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor
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          BCause Mining LLC, a Virginia limited liability company
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




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                                                                                    18 number (if known)
         BCause Mining LLC, a Virginia limited liability company
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor
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          BCause Mining LLC, a Virginia limited liability company
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 11, 2019
                                                  MM / DD / YYYY


                             X   /s/ Ann M. Cresce                                                       Ann M. Cresce
                                 Signature of authorized representative of debtor                        Printed name

                                         Corporate Secretary and General
                                 Title   Counsel




18. Signature of attorney    X   /s/ SCOTT R. CLAR                                                        Date April 11, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 SCOTT R. CLAR
                                 Printed name

                                 Crane, Simon, Clar & Dan
                                 Firm name

                                 Suite 3705
                                 135 South LaSalle Street
                                 Chicago, IL 60603-4297
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     312-641-6777                  Email address      sclar@cranesimon.com

                                 06183741 IL
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         BCause Mining LLC, a Virginia limited liability company

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 11, 2019                          X /s/ Ann M. Cresce
                                                                       Signature of individual signing on behalf of debtor

                                                                       Ann M. Cresce
                                                                       Printed name

                                                                       Corporate Secretary and General Counsel
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name BCause Mining LLC, a Virginia limited liability company
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                                Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AlphaCraft                                                                                                                                                             $351,386.40
 Technologies, LLC
 601 Railroad Ave.
 South Boston, VA
 24592
 Amazon Web                                                                                                                                                               $22,686.06
 Services, Inc.
 410 Terry Avenue
 North
 Seattle, WA
 98109-5210
 Bay Technologies                                                                                                                                                         $89,437.46
 4501 Bainbridge
 Blvd., #200
 Chesapeake, VA
 23320
 BFPE International                                                                                                                                                     $213,750.00
 PO Box 791045
 Baltimore, MD
 21279-1045
 BMG Operations                                                  Convertible Note                                                                                     $3,898,377.00
 Ltd.                                                            Payable
 44 Church Street
 St. John's
 Antigua
 CB Critical Systems                                                                                                                                                      $53,057.00
 11816 Mason Park
 Way
 Glen Allen, VA
 23059
 CSC                                                                                                                                                                    $626,305.84
 3462 Solution
 Center
 Chicago, IL
 60677-3004




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Dominion Energy                                                                                                                                                      $1,459,267.38
 Virginia
 PO Box 26543
 Richmond, VA
 23290-0001
 EF Fallon, Kevin                                                                                                                                                         $15,018.50
 2800 252nd Ave.
 Salem, WI 53168
 Endurance IT                                                    Lawsuit Case No.       Disputed                                                                          $52,923.55
 Services, LLC                                                   810CL19000594-0
 295 Bendix Road,                                                0
 #300
 Virginia Beach, VA
 23452
 HK Cryptocurrency                                               Deposit Payable                                                                                          $43,200.00
 Mining LLC
 470 Park Avenue
 South
 New York, NY 10016
 Horizon Kinetics                                                Deposit Payable                                                                                          $26,400.00
 LLC
 470 Park Avenue
 South
 New York, NY 10016
 Inate One LLC                                                   Deposit Payable                                                                                            $6,800.00
 1083 Independence
 Blvd., #206
 Virginia Beach, VA
 23455
 Pro Window, Inc.                                                                                                                                                       $333,611.09
 1604 Virginia Beach
 Blvd.
 Virginia Beach, VA
 23452
 Professional                                                                                                                                                           $957,856.37
 Heating & Cooling,
 Inc
 3306 Arizona Ave.
 Norfolk, VA 23513
 Silbar Security                                                                                                                                                          $10,336.00
 Corporation
 1508 Technology
 Drive, #101
 Chesapeake, VA
 23320
 Solutrix                                                        Deposits Payable                                                                                           $8,160.00
 5469 Greenwich
 Road
 Virginia Beach, VA
 23462




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    BCause Mining LLC, a Virginia limited liability company                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 US Customs &                                                                                                                                                           $737,041.90
 Border Protection
 6650 Telecom Drive,
 #100
 Indianapolis, IN
 46278
 WESCO                                                                                                                                                                  $745,756.08
 Distribution, Inc.
 PO Box 530409
 Atlanta, GA
 30353-0409
 Zhouyang (Mason)                                                Property Damage        Disputed                                                                        $295,356.40
 Song                                                            Claim
 2930 Barnard Street,
 #7204
 San Diego, CA
 92110




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 In re      BCause Mining LLC, a Virginia limited liability company                                                   Case No.
                                                                 Debtor(s)                                            Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 BCause LLC                                                                                                                      100% Membership



 BCause LLC                                                                                                                      100% membership interest
 130 S Jefferson St., #101
 Chicago, IL 60661


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Corporate Secretary and General Counsel of the corporation named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



 Date April 11, 2019                                                         Signature /s/ Ann M. Cresce
                                                                                            Ann M. Cresce

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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 In re      BCause Mining LLC, a Virginia limited liability company                                     Case No.
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                                                     VERIFICATION OF CREDITOR MATRIX

                                                                                       Number of Creditors:                                   37




            The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
            (our) knowledge.




 Date:       April 11, 2019                                            /s/ Ann M. Cresce
                                                                       Ann M. Cresce/Corporate Secretary and General Counsel
                                                                       Signer/Title




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Alliance Material
              CaseHandling, Inc.
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                                          Filed      Thomas Entered 04/11/19 16:09:15
                                                 04/11/19                       Jack Frost Enterprises
                                                                                         Desc  Main
PO Box 62050                             709  Roosevelt
                                           Document     Ave.
                                                           Page 15 of 18        3168 Holland Road
Baltimore, MD 21264-2050                  Virginia Beach, VA 23452               Virginia Beach, VA 23453

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AlphaCraft Technologies, LLC              EF Fallon, Kevin                       Johns Brothers Security
601 Railroad Ave.                         2800 252nd Ave.                        310 E. Street
South Boston, VA 24592                    Salem, WI 53168                        Hampton, VA 23661




Amazon Web Services, Inc.                 Endurance IT Services, LLC             Joseph LaMontagne
410 Terry Avenue North                    295 Bendix Road, #300                  582 Lynnhaven Parkway
Seattle, WA 98109-5210                    Virginia Beach, VA 23452               Virginia Beach, VA 23452




Bay Technologies                          Fidelity Labs LLC                      Matthew B. Kirsner
4501 Bainbridge Blvd., #200               200 Seaport Boulevard                  Eckert Seamans Cherin & Mellott LL
Chesapeake, VA 23320                      Boston, MA 02210                       919 E. Main St., #1300
                                                                                 Richmond, VA 23219



BFPE International                        FRMO Corporation                       Michael Adolphi
PO Box 791045                             One North Lexington Ave., #12-C        4404 Muddy Creek Road
Baltimore, MD 21279-1045                  White Plains, NY 10601                 Virginia Beach, VA 23457




BMG Operations Ltd.                       G Hogan Commercial Cleaning            Midgett Preti Olansen PC
44 Church Street                          645 Estates Way                        Attn: Alison R. Zizzo
St. John's                                Chesapeake, VA 23320                   2901 Lynnhaven Rd., #120
Antigua                                                                          Virginia Beach, VA 23452



Bruce Pollack                             HK Cryptocurrency Mining LLC           Paul Bozych
167 Park Ave.                             470 Park Avenue South                  Nielsen, Zehe & Antas, P.C.
Glencoe, IL 60022                         New York, NY 10016                     55 W. Monroe St., #1800
                                                                                 Chicago, IL 60603



CB Critical Systems                       Horizon Kinetics LLC                   Pro Window, Inc.
11816 Mason Park Way                      470 Park Avenue South                  1604 Virginia Beach Blvd.
Glen Allen, VA 23059                      New York, NY 10016                     Virginia Beach, VA 23452




CSC                                       Image 360                              Professional Heating & Cooling, Inc
3462 Solution Center                      118 Pennsylvania Ave.                  3306 Arizona Ave.
Chicago, IL 60677-3004                    Virginia Beach, VA 23462               Norfolk, VA 23513




Dominion Energy Virginia                  Inate One LLC                          Seth A. Robbins
PO Box 26543                              1083 Independence Blvd., #206          Robbins Law Group
Richmond, VA 23290-0001                   Virginia Beach, VA 23455               1100 N. Glebe Rd., Ste. 1010
                                                                                 Arlington, VA 22201
Silbar SecurityCase
                Corporation
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Chesapeake, VA 23320




Solutrix
5469 Greenwich Road
Virginia Beach, VA 23462




The Water H2Ole, Inc.
1444 Southern Blvd., #C2-A
Virginia Beach, VA 23454




US Customs & Border Protection
6650 Telecom Drive, #100
Indianapolis, IN 46278




Verizon
PO Box 15043
Albany, NY 12212-5043




WESCO Distribution, Inc.
PO Box 530409
Atlanta, GA 30353-0409




Zhouyang (Mason) Song
2930 Barnard Street, #7204
San Diego, CA 92110
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      BCause Mining LLC, a Virginia limited liability company                                      Case No.
                                                                 Debtor(s)                               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for BCause Mining LLC, a Virginia limited liability company in the above captioned
action, certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or
indirectly own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to
report under FRBP 7007.1:
 BCause LLC
 130 S Jefferson St., #101
 Chicago, IL 60661




    None [Check if applicable]




 April 11, 2019                                                      /s/ SCOTT R. CLAR
 Date                                                                SCOTT R. CLAR
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for BCause Mining LLC, a Virginia limited liability company
                                                                     Crane, Simon, Clar & Dan
                                                                     Suite 3705
                                                                     135 South LaSalle Street
                                                                     Chicago, IL 60603-4297
                                                                     312-641-6777 Fax:312-641-7114
                                                                     sclar@cranesimon.com




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